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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11                                               Case No. 2:21-cv-126-ODW (GJS)
       UNITED STATES, ex rel MATTY
12     LIBATIQUE; FREDERICK BANKS,
       next friend thereto,
13                                                JUDGMENT
                   Petitioners
14
             v.
15
       POLAND; REPUBLIC OF POLAND;
16     ZBIGNIEW ZIOBRO, MINISTER
       OF JUSTICE & CENTRAL
17     INTELLIGENCE AGENCY;
       WARDEN SEKOY MAAT; U.S.
18     DEPARTMENT OF STATE,
19                 Respondents.
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21      Pursuant to the Court’s Order Dismissing Petition,
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23      IT IS ADJUDGED THAT the above-captioned action is dismissed.
24
25   DATE: January 12, 2021                __________________________________
                                           OTIS D. WRIGHT, II
26                                         UNITED STATES DISTRICT JUDGE
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